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          EXHIBIT A
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                             UNITED STAIESL.,JTRICT COURT
                               DISTRICT OFCC.. CTICUT

EVERGREEN POWER, LLC and                                   : CIVIL ACTION NO.
ASNAT REALTY, LLC                                          : 3:12-CV-00032 (SRU)

                   Plaintiffs,
V.

UNITED ILL           KING
COMPANY
                                                           : SEPTE         R 10, 2012
                   Defendant.

                          AFFIDAVIT OF BOITD_      TRECZKO
                          (UNITED ILL       TIN G CO PAM()


       I, BOHDAN KATRECZKO, being duly sworn, deposes and says as follows:

                I am over the age of 18 and I believe in the obligations of an oath.

       2.       I am employed by The United Illuminating Company ("UM as Lead Analyst -

Environmental. My responsibilities include: achieve environmental compliance by reviewing

regulatory policies and obtaining the necessary permits, licenses, registrations, etc. for daily

operations; clarify or interpret regulations, legislation, policies, conditions, and technologies

affecting the business, including the reduction of exposure, liability, and costs. I have been

employed by UI since April 30, 1984.

        3.      The information stated herein is based on my personal knowledge and belief.

        4.      Based on a review of property acquisition records maintained by UI, U1 acquired

the property at 510 Grand Avenue, New Haven, Connecticut, otherwise known as English

Station, bet'tig in or about 1890 (the "Property").

        5.      Station B, a former coal-fired plant located on the Property, ceased operation at

the Property in approximately 1903.
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       6.      Subsequent to 1903, the A ex III location in Station B was used for the storage

of equipment and waste oils; this use was discontinued during 1998.

       7.      Ul operated a power generating station at the Property from approximately 1929

until 1992, when active Units 7 and 8 at English Station were placed in deactivated reserve.

       8.      When Units 7 and 8 were placed in deactivated reserve, steps were taken to

protect the vital components from degradation over time so that, if and when needed, these units

could be returned to service. To my knowledge, the dehumidification units on the vital

components were continuously operated from their installation in 1992 until the time that UI

transferred the Property to Quinnipiac Energy ("QE") in 2000. The humidity levels were

maintained to the specifications set forth during that time. Between 1992 and UI' s transfer of the

Property, two UI operational personnel performed maintenance on the heating and cooling

systems and undertook activities to preserve the equipment while the plant was in deactivated

reserve. Daily rounds were made, which included inspections of oil-filled equipment to confirm

there was no leakage. The vital components, therefore, were likely to be in the same condition in

2000, when UI transferred the Property to QE, as they were when the equipment was placed in

deactivated reserve. From 1992 until the ie of UI's transfer of the Property, the building was

kept in good repair, weather-tight and heated in order to protect all other components. As of the

transfer of the Property to QE in 2000, QE became responsible for any action required to restart

Units 7 and 8 as well as the continued maintenance of those units in deactivated reserve.

       9.      No PCB-containing equipment was abandoned at the Property at the time of the

transfer to QE. Other than UP s transmission equipment that remained within the limited

easement granted by QE to UI, only equipment desired by QE was left at the Property at the time

of the transfer to QE.


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       10.     Electric utility restructuring legislation in Connecticut in the 1990's required that

each electric company, including UI, either fully divest or functionally separate its non-nuclear

assets by no later than January 1, 2000.

       11.     In the June 9, 1999 Decision in Docket No. 98-10-07, DPUC Review of The

United Illuminating Company's Divestiture Plan — Phase II, the Dep it ent of Public Utility

Control ("DPUC") found that, with the decommissioning of the units, Ul would satisfy the

divestiture requirement with regard to English Station. At that time, the DPUC concluded that it

was appropriate to retire English Station and that Ul could recover the costs to decommission

English Station.

       12.     UT actively marketed the Property, including portions thereof, to parties whom UI

believed would have had an interest either for generation or for commercial or industrial

purposes.

        13.    As a result of these marketing efforts, QE and UI negotiated terms whereby QE

would acquire the Property.

        14.    QE purchased the Property for the stated purpose of restarting the units which had

been in deactivated reserve since 1992.

        15.    At the time of the transfer of the Property to QE in 2000, not all equipment

remaining at the Property contained polychlorinated biphenyls (PCBs) and any equipment

containing PCBs that remained at the Property was in use and maintained by UT in compliance

with state and federal regulations pertaining to such equipment; there was no release or

threatened release from this equipment in 2000.
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          16.   Authorized uses of PCBs, including certain PCB-contaminated equipment, which

QE intended to continue to use post-transfer, remained on the Property at the time of UT's

transfer to QE in 2000.

          17.   With the exception of UT's obligation to complete a bulkhead reconstruction

project, QE agreed, to the express exclusion of LTI,        TO   undertake all environmental obligations

related to the Property and to be the Certifying Party for purposes of the filing of a Form III as

required by Connecticut's Property Transfer Act Program, Conn. Gen. Stat. §§ 22a-134, et seq.

("Property Transfer Act Progr '). QE's obligations included a commitment to investigate and

remediate all conditions existing at the Property at the time of the transfer in 2000 in accordance

with prevailing standards and guidelines, including Connecticut's Remediation Standards

Regulations, R.C.S.A. §§ 22a-133k-1, et seq. (the "RSRs"), as administered by the Connecticut

Dep   N    eat of Environmental Protection (now the Connecticut Dep                e t of Energy &

Environmental Protection or "DEEP").

          18.   TR made a payment (closing adjustment) of $4,250,000.00 to QE at the time of

the transfer of the Property in 2000.

          19.   In connection with the transfer of the Property, UT and QE executed a

Remediation Escrow Agreement dated August 17, 2000 (the "Escrow Agreement"). The Escrow

Agreement farther delineated the parties' respective obligations relative to pre-closing and post-

closing environmental investigation and remediation work associated with the Property.

          20.    In preparation for the transfer of the Property, UT had GEI Consultants, Inc.

("GEI") prepare a draft Remedial Action Plan (the "RAP"), together with an estimate of the costs

to implement the    10   A
                             the"   A*
                                         Cost Estimate").




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           21.    The       Cost Estimate was $2,000,000; subsequent to closing adjustments, IJI

placed $1,961,354 in an escrow account ("Escrow Account") pursuant to the terms of the Escrow

Agreement.

           22.    Pursuant to the Escrow Agreement, UT was provided with invoices submitted for

disbursement from the Escrow Account and had the ability to review whether such invoices were

consistent with terms agreed to in the Escrow Agreement; Ul was not entitled to contest or

dispute the information, data or conclusions presented by QE's environmental consultant,

Advanced Environmental Interface ("AEI").

            23.   To the best of my knowledge, QE has used all, or substantially all, of the funds in

the Escrow Account to conduct investigation and remediation of the Property in accordance with
      0
the          and its obligations as a Certifying Party under the Property Transfer Act Program.

            24.   Prior to the transfer of the Property to QE, among the remedial and removal

actions performed by IJI at the Property were the following:

                   (a)    Chemical and petroleum wastes were removed in 1992, including 13,315

pounds and 966 gallons of hazardous waste that were shipped off-site in 1992 as a "result of

placing the power generating plant on deactivated reserve status and eliminating on-site

hazardous materials." GEI Consultants, Inc., Phase I Environmental Site Assessment English

Station, Exh. 9 to Pls.' Local Rule Statement (P000094, P0000102, P0000109, P0000114 and

P0000117).

                   (b)    Removal of 324 tons of PCB-impacted soil along the western bulkhead

(labeled as "A0C-5") beginning in June 1998. UI Subsurface Investigation and Remediation

Plan Report for English Station, August 1998, Exh, 1 X10008591




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       25.     Throughout its ownership of the Property, Ul was proactive in addressing

environmental matters as they arose. As documented in GEI' s Phase I Environmental Site

Assessment, Ul complied with CT DEEP spill reporting requirements and promptly responded to

spills of hazardous materials.

       26.     A 1998 report summarizes remedial activities and post-remediation sampling for

the action taken in response to the spill discovered during the bulkhead repair being performed

by UI. See U11998 Subsurface Investigation and Remediation Report for English Station, Exh.

1 [1.T00857-1H000860].

       27.     UI made determinations to assure proper storage and disposal of PCBs and PCB-

contaminated electrical equipment on an on-going basis during its period of ownership of the

Property using Ur s standard operating procedures. Any PCB-containing equipment stored on

the Property was removed prior to the transfer of the Property to QE in 2000.

       28.     Any equipment potentially containing or contaminated with PCBs vv;:ich

remained on the Property was equipment that was operational and, in QE's opinion, necessary

for QE's planned restart of power generating operations at the Property.




Subscribed and sworn before me thisM 7iday of September, 2012,


        t55- (4,
Notary Public
My Commission Expires:
